                         Case 8-18-78239-las              Doc 28         Filed 12/20/18          Entered 12/20/18 13:50:58


 Fill in this information to identify your case:


 Debtor 1
                    JULIA                                         ROSALES
                    ____________________________________________________________________
                     First Name             Middle Name              Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name              Last Name


                                         __________
 United States Bankruptcy Court for the: Eastern District of New
                                                       District of ___________
                                                                    York
                      18-78239
 Case number         ___________________________________________                                     Check if this is:
  (If known)
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
                                                                                                        income as of the following date:
                                                                                                        ________________
                           106I                                                                         MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                           Debtor 1                                   Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                  Employed                                       Employed
    employers.                                                          ✔ Not employed                                     Not employed
    Include part-time, seasonal, or
    self-employed work.                                                DISABLED
                                         Occupation                    __________________________________         __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name              __________________________________           __________________________________


                                         Employer’s address           _______________________________________    ________________________________________
                                                                       Number Street                              Number    Street

                                                                      _______________________________________    ________________________________________

                                                                      _______________________________________    ________________________________________

                                                                      _______________________________________    ________________________________________
                                                                       City            State  ZIP Code             City                State ZIP Code

                                         How long employed there?           _______                                 _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.         2.                0
                                                                                               $___________              $____________
                                                                                                           0
 3. Estimate and list monthly overtime pay.                                              3.   + $___________      +      $____________


 4. Calculate gross income. Add line 2 + line 3.                                         4.    $__________               $____________




Official Form 106I                                                Schedule I: Your Income                                                     page 1
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Debtor 1
                 JULIA                                         ROSALES
                  _______________________________________________________
                                                                                                                                                   18-78239
                                                                                                                             Case number (if known)_____________________________________
                 First Name          Middle Name                 Last Name



                                                                                                                            For Debtor 1           For Debtor 2 or
                                                                                                                                                   non-filing spouse

   Copy line 4 here...............................................................................................   4.      $___________
                                                                                                                                           0           $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                               5a.               0
                                                                                                                            $____________              $_____________
     5b. Mandatory contributions for retirement plans                                                                5b.               0
                                                                                                                            $____________              $_____________
     5c. Voluntary contributions for retirement plans                                                                5c.               0
                                                                                                                            $____________              $_____________
     5d. Required repayments of retirement fund loans                                                                5d.               0
                                                                                                                            $____________              $_____________
     5e. Insurance                                                                                                   5e.
                                                                                                                                       0
                                                                                                                            $____________              $_____________
     5f. Domestic support obligations                                                                                5f.
                                                                                                                                       0
                                                                                                                            $____________              $_____________
                                                                                                                                       0
                                                                                                                            $____________              $_____________
     5g. Union dues                                                                                                  5g.
     5h. Other deductions. Specify: __________________________________                                               5h.                0
                                                                                                                           + $____________         +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.                0
                                                                                                                            $____________              $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.     $____________
                                                                                                                                           0           $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                           0
                                                                                                                            $____________              $_____________
           monthly net income.                                                                                       8a.
     8b. Interest and dividends                                                                                      8b.               0
                                                                                                                            $____________              $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 850.00
                                                                                                                            $____________              $_____________
           settlement, and property settlement.                                                                      8c.
     8d. Unemployment compensation                                                                                   8d.    $____________
                                                                                                                                           0           $_____________
     8e. Social Security                                                                                             8e.         408.00
                                                                                                                            $____________              $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.
                                                                                                                                       0
                                                                                                                            $____________              $_____________

     8g. Pension or retirement income                                                                                8g.    $____________
                                                                                                                                           0           $_____________
                                         RENTAL INCOME
     8h. Other monthly income. Specify: _______________________________                                              8h.   + $____________
                                                                                                                                 3,400.00          + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.                0
                                                                                                                            $____________              $_____________

10. Calculate monthly income. Add line 7 + line 9.                                                                              4,658.00                                          4,658.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                       10.    $___________       +       $_____________    =   $_____________


11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                       11.   +   $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                                  4,658.00
                                                                                                                                                                             $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                             12.
                                                                                                                                                                             Combined
                                                                                                                                                                             monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
           No.
           Yes. Explain:


                                                                                       Schedule I: Your Income                                                                 page 2
